      Case 1:23-cv-03027-MKD          ECF No. 26      filed 09/29/23      PageID.587 Page 1 of 5




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     Jeremiah Galus*                                 Lansdowne, VA 20176             FILED IN THE
                                                                                 U.S. DISTRICT COURT

4    AZ Bar No. 30469                                (571) 707-4655        EASTERN DISTRICT  OF WASHINGTON

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10                                                   *Admitted Pro Hac Vice

11
                              UNITED STATES DISTRICT COURT
12                           EASTERN DISTRICT OF WASHINGTON
13   UNION GOSPEL MISSION OF YAKIMA, WASH.,
14                       Plaintiff,
                                                             Civil No. 1:23-cv-3027-MKD
         v.
15
     ROBERT FERGUSON, in his official capacity as
16   Attorney General of Washington State;
     ANDRETA ARMSTRONG, in her official capacity             NOTICE OF APPEAL
17
     as Executive Director of the Washington State
18   Human Rights Commission; and DEBORAH
     COOK, GUADALUPE GAMBOA, JEFF SBAIH, and
19   HAN TRAN, in their official capacities as
     Commissioners of the Washington State
20   Human Rights Commission,
21                       Defendants.

22
          NOTICE IS HEREBY GIVEN that Plaintiff Union Gospel Mission of
23
     Yakima, Wash. hereby appeals to the United States Court of Appeals for the Ninth
24
     Circuit from the Order granting Defendants’ Motion to Dismiss and Denying as
25
     Moot Plaintiff’s Motion for Preliminary Injunction (ECF No. 23) entered in this
26
     action on September 1, 2023.
27

                                      Plaintiff’s Notice of Appeal - 1
      Case 1:23-cv-03027-MKD         ECF No. 26     filed 09/29/23     PageID.588 Page 2 of 5




1            This is not a cross-appeal and there have been no previous appeals in this
2    case.
3            Pursuant to Ninth Circuit Rule 3-2, attached hereto is a Representation
4    Statement naming all parties to the appeal and their respective counsel.
5             Respectfully submitted this 29th day of September, 2023.
6
                                            By: s/Katherine L. Anderson
7                                           Katherine L. Anderson
                                            WA Bar No. 41707
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12
                                            Attorney for Plaintiff Union Gospel Mission of
13                                          Yakima, Wash.
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                                    Plaintiff’s Notice of Appeal - 2
      Case 1:23-cv-03027-MKD       ECF No. 26     filed 09/29/23     PageID.589 Page 3 of 5




1                              CERTIFICATE OF SERVICE
2          I hereby certify that on September 29th, 2023, I electronically filed the
3    foregoing document with the Clerk of Court using the CM/ECF system, which will
4    send notification of such filing to all counsel of record.
5

6
                                             s/Katherine L. Anderson
7                                            Katherine L. Anderson
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                                  Plaintiff’s Notice of Appeal - 3
      Case 1:23-cv-03027-MKD       ECF No. 26     filed 09/29/23     PageID.590 Page 4 of 5




1                                 Representation Statement
2
     Appellant
3

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     Union Gospel Mission of Yakima, Wash.

5    Counsel for Appellant:
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7    Jeremiah Galus
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     Counsel are registered for Electronic Filing in the 9th Circuit.
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                                  Plaintiff’s Notice of Appeal - 4
      Case 1:23-cv-03027-MKD     ECF No. 26      filed 09/29/23     PageID.591 Page 5 of 5




1    Appellees
2    Robert Ferguson, in his official capacity as Attorney General of Washington State;
3    Andreta Armstrong, in her official capacity as Executive Director of the
     Washington State Human Rights Commission; and Deborah Cook, Guadalupe
4    Gamboa, Jeff Sbaih, and Han Tran, in their official capacities as Commissioners of
5    the Washington State Human Rights Commission

6    Counsel for Appellees:
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     Daniel J. Jeon
8    David J. Ward
9    Assistant Attorneys General
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                                 Plaintiff’s Notice of Appeal - 5
